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   1                  UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
   2                    FT. LAUDERDALE DIVISION

   3

   4    SPRINT COMMUNICATIONS, INC.,       )
                                           )
   5      Plaintiff/Counterclaim-Defendant,)
                                           )
   6                  vs.                  )CASE No.
                                           )0:18-cv-60788-
   7    STEPHEN CALABRESE, AS AN           )MARTINEZ/SNOW
        INDIVIDUAL, NEXTEL, INC., D/B/A    )
   8    NEXTEL WORLDWIDE, RETROBRANDS USA, )
        LLC, NEXTEL MOBILE WORLDWIDE, INC.,)
   9    AND JEFFREY KAPLAN, AS AN          )
        INDIVIDUAL,                        )
  10                                       )
                Defendant/Counterclaimants.)
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  15
                    DEPOSITION OF BRIAN A. MANCUSO
  16
                  TAKEN ON BEHALF OF THE DEFENDANTS
  17
                          JANUARY 29TH, 2019
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  15                Q.   Good afternoon, Mr. Mancuso.   Would

  16     you please state your full name for the record?

  17           A.        Brian Anthony Mancuso.

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  12                Q.   And you've been working for Sprint

  13     since August of 2016, is that correct?

  14                A.   Yes, sir.

  15                Q.   Now you also are a part-time LEO

  16     Certified Deputy Sheriff, is that correct?

  17           A.        Correct.

  18           Q.        And what does LEO stand for?

  19           A.        Law enforcement officer.

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  20             Q.      Do you have any training in quality

  21     assurance?

  22             A.      No.

  23

  24             Q.      (By Mr. Kernell) Do you have any

  25     training in quality control?



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   2                A.    No.

   3                Q.    (By Mr. Kernell)   Do you have any

   4     certification training?

   5

   6                A.    Again in what?

   7                Q.    (By Mr. Kernell) For instance, a UL

   8     mark, it's a certification for UL, do you have any

   9     training in any certifications?

  10                A.   No.

  11                Q.   Do you have any training in standards?

  12

  13                A.   No.

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  19           Q.         Criminal.   Do you have any legal

  20     training in civil matters?

  21                A.   No.

  22                Q.   Have you had any formal training or

  23     education in trademark law?

  24                A.   No, sir.

  25                Q.   Have you taken any training classes or



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   1     education in trademark law?

   2           A.        No, sir.

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   8                Q.    (By Mr. Kernell) So it's on-the-job

   9     training?

  10                A.    Yes, sir.

  11                Q.    You haven't had any formal technical

  12     training?

  13                A.    No, sir.

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  16                Q.    (By Mr. Kernell) Let me hand you what

  17     I have marked as Exhibit 131.    Do you recognize this

  18     exhibit?

  19           A.         Yes, sir.

  20           Q.         What is it?

  21           A.         It's the Declaration.

  22           Q.         This is your Declaration?

  23           A.        Yes, sir.

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   5           Q.        Did you prepare your declaration?

   6           A.        You mean did I type all that up or --

   7           Q.        Yes.

   8           A.        I worked with our Sprint legal team.

   9           Q.        Who in the legal team did you work

  10     with to prepare your declaration?

  11                A.   I don't remember the exact person.   It

  12     might have been Jobe.   I'm not sure.

  13           Q.        Melissa Jobe?

  14           A.        Yes.

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  24            Q.       Did you make any changes to the draft

  25     that you were presented with?



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   1             A.      No.

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  2              Q.     Were all the statements in your

  3     Declaration accurate and absolutely true when you

  4     signed the declaration on April 12th, 2018?

  5              A.     Yes.

  6              Q.     Are all the statements in your

  7     Declaration accurate and absolutely true today?

  8              A.     Yes.

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 10               Q.

 11                     Why did you attend the IWCE conference

 12    in 2017?

 13               A.     I go to the law enforcement shows

 14     particularly.

 15               Q.     Are the IWCE conferences law

 16     enforcement shows?

 17               A.     They are usually emergency

 18     communications.

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 21            Q.       Now the IWCE, is it always in March?

 22            A.      Typically, yes.

 23            Q.       That time of the year?

 24            A.       Yes.

 25            Q.       Are you planning to attend the IWCE



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                                      24
                                                                            51

  1     conference in 2019?

  2              A.     I'm working on it.   I placed a funding

  3     request, but nothing has been approved yet.

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 11              Q.     (By Mr. Kernell) What is your role

 12     when you attended the IWCE conference in 2017?

 13              A.     Answer customers questions about our

 14     products and if we had things demonstrated like our

 15     Push-To-Talk solution for LMR, that's for land mobile

 16     radio, and talk to them about the Sprint network.

 17            Q.       Anything else?

 18            A.       No.

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                                                                            60

  1              Q.     (By Mr. Kernell) At the 2017 IWCE

  2     conference, at some point you were browsing through

  3     vendors' tables and came across a Nextel booth, is

  4     that correct?

  5              A.     Correct.

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 20              Q.     You said that you noticed an

 21     individual with a name tag Stephen Calabrese.    Do you

 22     recall that?

 23              A.     Yes.

 24              Q.     Did you talk to Mr. Calabrese?

 25              A.     I believe that's who -- I'm not sure,



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  1     I think that's who it was.

  2               Q.    Is that the name you recall or you're

  3     not sure if that's --

  4               A.    They either told me that's who owned

  5     it or that's the name that was on there.

  6               Q.    On there, what do you mean by "on

  7     there"?

  8               A.    On the name tag.

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  1                     (Exhibit 134 was marked for

  2     identification by the reporter.)

  3              Q.     (By Mr. Kernell) I hand you Exhibit

  4     134.   Let's look at the -- do you recognize these

  5     handsets shown in Exhibit 134?

  6              A.     Any of them or all of them or what do

  7     you mean?

  8              Q.     Some.   In general, do you recognize

  9     any of them?

 10              A.     They look like they were ones that

 11     were being displayed.

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  9               Q.    When you said that at the Nextel booth

 10     they had the Nextel mark that was Sprint's.     Are you

 11     referring to the banner that was in the Nextel booth

 12     at the IWCE 2017 conference?

 13               A.    Yes.   I didn't sit there and go

 14     through all their equipment with them.

 15               Q.    Did you see -- you saw some equipment

 16     that also had the Nextel mark on it at the Nextel

 17     booth at the IWCE 2017, correct?

 18               A.    At the '17?

 19               Q.    Yes.

 20               A.    I saw devises on their table.

 21               Q.    Did they have the yellow and black

 22     Nextel mark on their devices?

 23               A.    I didn't look that closely to be

 24     honest.

 25               Q.    Did you see any devices at the 2018



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  1     IWCE conference that had the Nextel yellow and black

  2     logo on it?

  3              A.     The boxes from what I say were marked

  4     -- looked like our boxes by the color, the yellow and

  5     black color and said Nextel.

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  8             Q.       After the 2017 IWCE conference, what

  9     did you do?

 10              A.      I forwarded an e-mail to my bosses

 11     stating what I had saw, somebody was using the Nextel

 12     name and what they were doing; sent them pictures.

 13                      (Exhibit 135 was marked for

 14     identification by the reporter.)

 15              Q.      (By Mr. Kernell) I've handed you what

 16     is marked as Exhibit 135.     Is this the e-mail that

 17     you were just referring to?

 18              A.      Yes.

 19              Q.      And in this e-mail it states "At IWCE

 20     I observed a booth using and flying the Nextel name

 21     and banner and appears to be in direct competition as

 22     a PTT company.    People were confused about it, asking

 23     us."   What did you mean by that?

 24              A.      People came to our booth asking about

 25     what was the deal?



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  1               Q.    About how many people came to your

  2     booth?

  3               A.    At '17?

  4               Q.    Yes.

  5               A.    A few.

  6               Q.    How many is a few, five?

  7               A.    Less than ten.

  8               Q.    And what did they say?

  9               A.    They were just asking -- they were

 10     confused and saying do you guys have two booths here?

 11     Some people were saying like are you guys starting --

 12     are you doing something different with Nextel?    They

 13     were just asking what's the deal?    They were just

 14     confused because they saw -- they knew it was Sprint

 15     Nextel.   They didn't understand why we were

 16     separated.

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 19              Q.     How did these six to ten attendees

 20     suggest that they believed that the NW Nextel branded

 21     products or services were affiliated with Sprint at

 22     the 2017 IWCE conference?

 23              A.     They were confused by the name, the

 24     banner and the name, and knew that was us.

 25



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 17              Q.     Now in paragraph 17 you state that

 18     "Similarly during the IWCE 2018 show, at least two

 19     attendees approached me expressing confusion

 20     regarding the relationship between Sprint on the one

 21     hand and the NW entities booth and counterfeit and

 22     Nextel products, materials and services offered by

 23     defendants on the other hand."    Do you see that?

 24              A.     Yes.

 25              Q.     So there were only two attendees that



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  1     approached you at the 2018 Sprint booth?

  2

  3              A.     I just remember the person said, well,

  4     do I deal with you guys or do I deal with those guys?

  5     That's what I kind of meant by on one hand or the

  6     other.   That's what they were doing, do I deal with

  7     you guys or those guys?

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